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Appendix C

Message center

Client services - Taxes

From: phoenix545
To: Message Center Client Services
Date: 6:00am ET 3/22/2023

Form Message
FULL_NAME: Scott Traudt
ACCOUNT_TITLE: SCOTT CHRISTIAN TRAUDT
USERID: phoenix545
ACCOUNT_NUMBER: 270433744
User-Agent: Mozilla/5.0 (Macintosh; Intel Mac OS X 10_13_6) AppleWebKit/605.1.15 (KHTML, like Gecko)
Version/13.1.2 Safari/605.1.15
ENVIRONMENT: MOBI@AMER.OAUTHAP
CHOOSE_A_TOPIC: Client services
INQUIRY: Taxes

22 March 2023
Gentlemen:

Hey guys could you please send me the audio file (recording) of my conversation with Ron Fleming (Cameron
Fleming might be his full name) who works at the St . Louis call center for TDA? | need to double check what he said
about where to go for my tax information as last year TDA sent me everything far before the April 15th income tax
deadline, and now | am unsure as to what portal to access. The call was on Monday, March 20 from about 4:55 to
5:10 pm EST and it was from my personal cell phone at 802-318-0429.

Can you also let me know if Ron's background was Series 7, Series 65, or other (Certified Financial Analyst, Planner,
Market Technician, etc.?)

Thanks

Scott Traudt
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Message center

Client services - Taxes

From: Message Center Client Services
To: scottS45303
Date: 8:19am ET 3/22/2023

Dear Scott Traudt,

Thank you for contacting TD Ameritrade! My name is Mike and | hope you are having a good day so far.
Your 1099 tax form can be located through the desktop website by going to the left side of the screen to
My Account > Tax Center. Through the mobile app, you can download the form by going to Accounts >
Docs > Tax Documents. Your tax document was posted online as of February 3,2023.

In regards to the phone call, we cannot provide a recorded copy of the call. Cameron is a specialist on
the trade desk who holds his Series 63, Series 7 and Series 9 licenses. You can review his information on

brokercheck.org.

Thank you for your business with TD Ameritrade! Answers to many of your questions might be found by
going to Client Services > Help Center. Please reply here, give us a call or if you have additional questions
and we would be happy to assist!

Michael Vaughn
Client Services

TD Ameritrade
1-800-669-3900

TD Ameritrade, inc., member FINRA/SIPC. Not an offer or solicitation to conduct business in any
jurisdiction where we are not authorized to do business. Communications may be subject to review.

Original Message Excluded:

(KMM134064794V87508LO0KM)

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